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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

JOHNNIE WILL HARRIS, JR.,                )
                                         )
             Plaintiff,                  )
                                         )
      v.                                 )     CASE NO. 1:17-cv-286-WKW
                                         )
ANDY GUNTER,                             )
                                         )
             Defendant.                  )

                                     ORDER

      Upon consideration of the parties’ Joint Stipulation of Dismissal (Doc. # 50),

which comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

this action has been dismissed with prejudice by operation of Rule 41, on the terms

agreed to and set out by the parties. The Clerk of the Court is DIRECTED to close

this case.

      DONE this 2nd day of January, 2019.

                                          /s/ W. Keith Watkins
                                CHIEF UNITED STATES DISTRICT JUDGE
